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                         UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                   NORTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                            1;23-CR-10027-CBK
                      Plaintiff,
       vs.                                           ORDER DENYING MOTION TO
                                                            DISMISS COUNT II
JUSTINE JAMES SCHNEIDER,
                      Defendant.


       Defendant is charged with, inter alia, possession of a firearm by a prohibited
person, a felon, in violation of 18 .S.C. § 922(g)(1). Defendant moved to dismiss this
charge, claiming that § 922(g)(1) violates the Second Amendment ofthe United States
Constitution. He contends that, under the United States Supreme Court's decision in
New York State Rifle & Pistol Association. Inc. v. Bruen. 597 U.S. 1, 142 S. Ct. 2111,
213 L. Ed. 2d 387(2022)("Bruen"!. his Second Amendment right to "keep and bear
arms" is presumptively protected and cannot be regulated or infringed unless the
prohibition falls within the plain text ofthe Second Amendment or is consistent with the
history offirearms regulation as it existed at the time ofthe adoption ofthe Second
Amendment.

       The United States Court of Appeals for the Eighth Circuit considered the
constitutionality of 18 U.S.C. § 922(g)(1) in light ofBruen in United States v. Jackson.
69 F.4th 495, 501 (8th Cir. 2023), and held that §922(g)(l)is not unconstitutional as
applied to a defendant with felony conviction. The Eighth Circuit conducted an historical
inquiry and concluded that restrictions on the right to bear arms existed in England and in
colonial America at least 100 years prior to the adoption ofthe Second Amendment.
Jackson. 69 F.th at 502-503. In keeping with the United States Supreme Court's holding
in Bruen. that the Second Amendment protects the right of a "law-abiding citizen" to
keep and bear arms, 597 U.S. at 9, 142 S. Ct. at 2122, the Eighth Circuit concluded in
Jackson that "the history supports the authority of Congress to prohibit possession of
firearms by persons who have demonstrated disrespect for legal norms ofsociety."
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United States v. Jackson.69 F.4th at 504. "Congress acted within the historical tradition
when it enacted § 922(g)(1) and the prohibition on possession offirearms by felons."
United States v. Jackson. 69 F.4th at 505.

       Defendant criticizes the Eighth Circuit's historical analysis in Jackson, contending
that the panel's rationale is invalid. He contends that this Court should conduct and "as
applied" analysis after an evidentiary hearing and that, after doing so, it will be evident
that § 922(g)(1)is unconstitutional as applied to him because he had a right and a
legitimate need to possess a firearm for self-defense. Defendant does not have a Second
Amendment right to bear arms because he is not a "law-abiding citizen." I take judicial
notice ofthe files ofthe South Dakota Unified Judicial System located in the ecourts
portal, https://ecourts.sd.gov. I have verified that the defendant's date of birth is identical
in the federal and state court databases.

       Defendant was convicted of ingestion of methamphetamine and sentenced on
April 15, 2019,to five years imprisonment in the Fifth Judicial Circuit, Corson County,
South Dakota, 15CRI18-000034. Defendant was convicted offelony driving under the
influence and was sentenced on April 15, 2019, to two years imprisonment in the Fifth
Judicial Circuit, Corson County, South Dakota, 15CRI17-000036. In that same case,
defendant was convicted of assault against a law enforcement officer and was sentenced
to two years imprisonment. Defendant was convicted of possession of methamphetamine
and was sentenced on February 18, 2014, to three years imprisonment in the Fifth
Judicial Circuit, Corson County, South Dakota, 15CRI13-000035. Defendant was
convicted of felony driving under the influence and was sentenced on June 24, 2008,to
two years imprisonment in the First Judicial Circuit, Davison County, South Dakota,
17C08000114A0. Defendant was convicted of aggravated assault and was sentenced on
November 1, 2004, to two years imprisonment in the First Judicial Circuit, Davison
County, South Dakota, 15C04000015A0. Although a certificate of discharge was filed
by the South Dakota Department of Corrections as to three earliest convictions detailed
above, that discharge was subject to the state law proscription from possessing firearms.
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       Ifthe determination of the constitutionality of the federal felon in possession of a
firearm statute requires an individualized determination as applied to this defendant, I
find that he is not a law-abiding citizen entitled to possess a firearm. I do so based upon
the criminal records detailed above. No evidentiary hearing is required to make such a
finding in this case.
       I am required to apply Supreme Court and Eighth Circuit precedent and I have
done so. I find that 18 U.S.C. § 922(g)(1), prohibiting a person previously convicted of a
felony from possessing a firearm, is not unconstitutional.
       Now,therefore,
       IT IS ORDERED that defendant's motion. Doc. 32, to dismiss Count II of the
indictment is denied.

       DATED this ^^iay of May,2024.
                                          BY THE COURT:




                                          CHARLES B. KORNMANN
                                          United States District Judge
